    3:22-cv-01007-MGL    Date Filed 07/11/22   Entry Number 16   Page 1 of 7




                 UNITED STATES DISTRICT COURT
                  DISTRICT OF SOUTH CAROLINA




                        NOTICE TO COUNSEL

      The attached Conference and Scheduling Order contains a number of
important changes required by recent amendments to the Federal Rules of
Civil Procedure, effective December 1, 2000. Additional amendments
became effective August 1, 2001.

      Counsel should carefully review the Order and note all deadlines on a
calendaring system.

      Counsel should also review the referenced rules and become familiar
with these significant changes.

      The amended Local Civil Rules for the District of South Carolina are
available at:
                         www.scd.uscourts.gov.




                                    s/Mary Geiger Lewis
                                    United States District Judge
July 11, 2022
Columbia, South Carolina
      3:22-cv-01007-MGL          Date Filed 07/11/22      Entry Number 16        Page 2 of 7



                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF SOUTH CAROLINA
                                  COLUMBIA DIVISION

SOUTH CAROLINA STATE                          )       C/A No. 3:22-cv-01007-MGL
CONFERENCE OF THE NAACP,                      )
                                              )
                Plaintiff,                    )
                                              )
        -versus-                              )       CONFERENCE AND
                                              )       SCHEDULING ORDER
TONNYA K. KOHN, in her official               )
capacity as South Carolina State Court        )
Administrator; DONALD W. BEATTY, in )
his official capacity as Chief Justice of the )
South Carolina Supreme Court,                 )
                                              )
                Defendants.                   )

        Pursuant to the Federal Rules of Civil Procedure and the Local Civil Rules of this Court,
the following schedule is established for this case. Discovery may begin upon receipt of this
order.

1.     A conference of the parties pursuant to Fed.R.Civ.P. 26(f) shall be held no later than
       August 1, 2022.1 At conference the parties shall confer concerning all matters set forth in
       Fed.R.CivP. 26(f) and whether the schedule set forth in this order is appropriate and, if
       not, what modifications are necessary.2

2.     No later than August 15, 2022, the required initial disclosures under Fed.R.Civ.P.
       26(a)(1) shall be made.3

3.     No later than August 15, 2022, the parties shall file a Rule 26(f) Report in the form
       attached to this order. Parties are hereby notified that Local Civil Rule 26.03 lists
       additional queries to be answered in the Rule 26(f) Report.


       1
        Plaintiff’s counsel shall initiate the scheduling of the Rule 26(f) conference with all
counsel known to plaintiff regardless of whether they have filed appearances.
       2
        The parties shall also consider whether they wish to consent to trial before a United
States Magistrate Judge. See attached Notice of Availability of United States Magistrate Judge.
       3
       Pursuant to Fed.R.Civ.P. 26(a)(1), the parties may, by stipulation, agree not to make
some or all of the Rule 26(a)(1) initial disclosures. If such a stipulation is made, it shall be
confirmed in writing between the parties. See Fed.R.Civ.P. 29 and Local Civil Rule 29.01.
      3:22-cv-01007-MGL         Date Filed 07/11/22     Entry Number 16        Page 3 of 7



C/A 3:22-cv-01007-MGL
Conference and Scheduling Order; Page 2


4.     Motions to join other parties and amend the pleadings (Fed.R.Civ.P.16(b)(3)(A)) shall be
       filed no later than September 6, 2022.4

5.     Plaintiff(s) shall file and serve a document identifying by full name, address, and
       telephone number each person whom Plaintiff(s) expects to call as an expert at trial and
       certifying that a written report prepared and signed by the expert including all information
       required by Fed. R. Civ. P. 26(a)(2)(B) has been disclosed to other parties by October 6,
       2022.

6.     Defendant(s) shall file and serve a document identifying by full name, address, and
       telephone number each person whom Defendant(s) expects to call as an expert at trial and
       certifying that a written report prepared and signed by the expert including all information
       required by Fed. R. Civ. P. 26(a)(2)(B) has been disclosed to other parties by November
       7, 2022.

7.     Counsel shall file and serve affidavits of records custodian witnesses proposed to be
       presented by affidavit at trial no later than November 7, 2022. Objections to such
       affidavits must be made within fourteen (14) days after the service of the disclosure. (See
       Fed.R.Evid. 803(6), 902(11), or 902(12) and Local Civil Rule 16.02(D)(3)).

8.     Discovery shall be completed no later than January 4, 2023. All discovery requests shall
       be served in time for the responses thereto to be served by this date. De bene esse
       depositions must be completed by discovery deadline. No motions relating to discovery
       shall be filed until counsel have consulted and attempted to resolve the matter as required
       by Local Civil Rule 7.02 and have had a telephone conference with Judge Lewis in an
       attempt to resolve the matter informally. The request for a telephone conference
       should be made within the time limit prescribed by local rule for filing such a
       motion. Attorneys should send a request for a telephone conference via e-mail to
       Lewis_ecf@scd.uscourts.gov.

9.     Motions in limine must be filed no later than April 17, 2023. Written responses are due
       seven (7) days thereafter.

10.    All other motions, except those to complete discovery, those nonwaivable motions made
       pursuant to Fed.R.Civ.P. 12, and those relating to the admissibility of evidence at trial,
       shall be filed on or before January 19, 2023. (Fed.R.Civ.P.16(b)(3)(A)).




       4
        As a general rule, when no timely response is filed to any motion, the Court will grant
the motion with the notation that it is being "granted without opposition."
      3:22-cv-01007-MGL         Date Filed 07/11/22        Entry Number 16        Page 4 of 7



C/A 3:22-cv-01007-MGL
Conference and Scheduling Order; Page 3


11.    Mediation shall be completed in this case on or before March 20, 2023. See the
       Mediation Order filed in this case which sets forth mediation requirements.

12.    No later than April 4, 2023, the parties shall file and exchange Fed.R.Civ.P. 26(a)(3)
       pretrial disclosures. Within fourteen (14) days thereafter, a party shall file and exchange
       Fed.R.Civ.P. 26(a)(3) objections, any objections to use of a deposition designated by
       another party and any deposition counter-designations under Fed.R.Civ.P. 32(a)(6).

13.    Parties shall furnish the Court pretrial briefs seven (7) days prior to the date set for jury
       selection (Local Civil Rule 26.05). Attorneys shall meet at least seven (7) days prior to
       the date set for submission of pretrial briefs for the purpose of exchanging and marking
       all exhibits. See Local Civil Rule 26.07.

14.    This case is subject to being called for jury selection and/or trial on or after May 8, 2023.




                                              s/Mary Geiger Lewis
                                              United States District Judge

July 11, 2022
Columbia, South Carolina
      3:22-cv-01007-MGL         Date Filed 07/11/22     Entry Number 16        Page 5 of 7



                         IN THE UNITED STATES DISTRICT COURT
                             DISTRICT OF SOUTH CAROLINA
                                  COLUMBIA DIVISION

SOUTH CAROLINA STATE                          )      CA 3:22-cv-01007-MGL
CONFERENCE OF THE NAACP,                      )
                                              )
                Plaintiff,                    )
                                              )      RULE 26(f) REPORT
                -versus-                      )
                                              )
TONNYA K. KOHN, in her official               )
capacity as South Carolina State Court        )
Administrator; DONALD W. BEATTY, in )
his official capacity as Chief Justice of the )
South Carolina Supreme Court,                 )
                                              )
                Defendants.                   )


       The parties, having consulted pursuant to Rule 26(f), Fed. R. Civ. P., hereby report as
follows (check one below):

       _______         We agree that the schedule set forth in the Conference and Scheduling
                       Order filed July 11, 2022 is appropriate for this case. The parties’
                       proposed discovery plan as required by Fed. R. Civ. P. Rule 26(f) and
                       the information required by Local Civil Rule 26.03 will be separately
                       filed by the parties.

       _______         We agree that the schedule set forth in the Conference and Scheduling
                       Order filed July 11, 2022 requires modification as set forth in the
                       attached proposed Consent Amended Scheduling Order (use format of the
                       Court’s standard scheduling order attached hereto). The parties’
                       proposed discovery plan as required by Fed. R. Civ. P. Rule 26(f) and
                       the information required by Local Civil Rule 26.03 will be separately
                       filed by the parties.

       _______         We are unable, after consultation, to agree on a schedule for this case.
                       We, therefore, request a scheduling conference with the Court. The
                       parties’ proposed discovery plan as required by 26(f) Fed. R. Civ. P.,
                       with disagreements noted, and the information required by Local
                       Civil Rule 26.03 will be separately filed by the parties.


                               (SIGNATURE PAGE ATTACHED)
     3:22-cv-01007-MGL        Date Filed 07/11/22   Entry Number 16   Page 6 of 7




       PLAINTIFF(S)                                   DEFENDANT(S)
_____________________________                   ________________________________
Signature of Plaintiff’s Counsel                Signature of Defendant’s Counsel

_____________________________                   ________________________________
Printed Name of Plaintiff’s Counsel             Printed Name of Defendant’s Counsel
and Party Represented                           and Party Represented


____________________________                    ________________________________
Signature of Plaintiff’s Counsel                Signature of Defendant’s Counsel

_____________________________                   ________________________________
Printed Name of Plaintiff’s Counsel             Printed Name of Defendant’s Counsel
and Party Represented                           and Party Represented

_____________________________                   ________________________________
Signature of Plaintiff’s Counsel                Signature of Defendant’s Counsel

_____________________________                   ________________________________
Printed Name of Plaintiff’s Counsel             Printed Name of Defendant’s Counsel
and Party Represented                           and Party Represented


____________________________                    ________________________________
Signature of Plaintiff’s Counsel                Signature of Defendant’s Counsel

_____________________________                   ________________________________
Printed Name of Plaintiff’s Counsel             Printed Name of Defendant’s Counsel
and Party Represented                           and Party Represented


Dated: ________________________                 Dated: __________________________
                 3:22-cv-01007-MGL                Date Filed 07/11/22             Entry Number 16         Page 7 of 7

AO 85 (Rev. 01/09) Notice, Consent, and Reference of a Civil Action to a Magistrate Judge


                                           UNITED STATES DISTRICT COURT
                                                                 for the
                                                       District of South Carolina

SOUTH CAROLINA STATE CONFERENCE                          )
OF THE NAACP,                                            )
                                                         )
                Plaintiffs                               )
                   v.                                    )                   Civil Action No. 3:22-cv-01007-MGL
TONNYA K. KOHN, in her official capacity as South )
Carolina State Court Administrator; DONALD W.            )
BEATTY, in his official capacity as Chief Justice of the )
South Carolina Supreme Court,                            )
                                                         )
                Defendants                               )

     NOTICE, CONSENT, AND REFERENCE OF A CIVIL ACTION TO A MAGISTRATE JUDGE

      Notice of a magistrate judge’s availability. A United States magistrate judge of this court is available to conduct all
proceedings in this civil action (including a jury or nonjury trial) and to order the entry of a final judgment. The judgment
may then be appealed directly to the United States court of appeals like any other judgment of this court. A magistrate
judge may exercise this authority only if all parties voluntarily consent.

      You may consent to have your case referred to a magistrate judge, or you may withhold your consent without
adverse substantive consequences. The name of any party withholding consent will not be revealed to any judge who may
otherwise be involved with your case.

     Consent to a magistrate judge’s authority. The following parties consent to have a United States magistrate judge
conduct all proceedings in this case including trial, the entry of final judgment, and all post-trial proceedings.

        Parties’ printed names                      Signatures of parties or attorneys                         Dates
_____________________________                     _____________________________                    _____________________________
_____________________________                     _____________________________                    _____________________________
_____________________________                     _____________________________                    _____________________________
_____________________________                     _____________________________                    _____________________________


                                                             Reference Order

      IT IS ORDERED: This case is referred to a United States magistrate judge to conduct all proceedings and order
the entry of a final judgment in accordance with 28 U.S.C. § 636(c) and Fed. R. Civ. P. 73.

Date: ___________________                                                                   _____________________________________
                                                                                                District Judge’s signature

                                                                                            _____________________________________
                                                                                                  Printed name and title

Note:    Return this form to the clerk of court only if you are consenting to the exercise of jurisdiction by a United States
         magistrate judge. Do not return this form to a judge.
